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August 10, 2018
BY E-MAIL AND MATT,

Christopher B. Greene, Esq.
Kaplan & Company, LLP

350 Fifth Avenue

Suite 7110

New York, New York 10118

Re: Sines, et al. vs. Kessler, et al.

Dear Mr. Greene:

I have reviewed Plaintiffs" Responses and Objections to
Defendant Richard Spencer's First Request for Production of
Documents to All Plaintiffs (hereinafter "Responses"), which you
served by e-mail on July 23, 2018.

I write to address various issues.

1. The Responses were served only by e-mail and were
served on my paralegal, not me.

In the future, please also mail me a “hard copy" of any
pleading or discovery-related document and serve the pleading or
document on me.

2. The Responses were made on behalf of all of the
plaintiffs collectively; no plaintiff filed his or her own
response.

In his First Request for Production of Documents to All
Plaintiffs (hereinafter the "Request"), my client asked for each
plaintiff "to serve a separate written response"! and he is
entitled to a separate written response from each plaintiff.

3. None of your clients produced any documents or things
in response to the Request.

 

A

  

Instruction and Definition No. 1.
DEFENDANT'S
EXHIBIT

3

        

Blumberg No. 5114
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Instead, your clients merely indicate that they will
produce documents. They do not say when they will produce
documents or where they will produce documents.?

My client is entitled to prompt production of all
responsive documents in your clients’ possession, custody or
control, subject to your clients’ objections.? He is not
obligated to wait for production.‘

By my calculation, the discovery cut-off in this case is
February 8, 2019 -~ six (6) months from now. Any delay in
production prejudices my client.

Please let me know when your clients interid to serve
Separate responses and to produce responsive documents.

Very yy yours,

. i

" A. DiNucci

gop
cc: Mr. Spencer (by e-mail Cee

David L. Campbell, Esq. (by e-mal only)
Bryan Jones, Esq. (by e-mail only)

James B. Kolenich, Esq. (by e-mail only)
Elmer Woodard, Esq. (by e-mail only)

 

* The most they indicate with respect to time is that they "will produce
documents on a rolling basis ..." See Responses at General Response and

Objection No. 21 (p. 66).

3 Io will address the objections at such time as I receive a document
production. At the moment, I do not know what documents your clients will
forgo producing based on their objections.

4 Please also note that it is my position that my client is entitled to
production of documents and things in some medium other than a "drop-box.”
